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                          Exhibit B

                    [Cremens Declaration]
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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:                                                  ) Chapter 11
                                                        )
ENERGY FUTURE HOLDINGS CORP., et al.,1                  ) Case No. 14-10979 (CSS)
                                                        )
                                Debtors.                ) (Jointly Administered)
                                                        )

  DECLARATION OF CHARLES H. CREMENS IN SUPPORT OF APPLICATION FOR
 ORDER APPROVING THE EMPLOYMENT OF CRAVATH, SWAINE & MOORE LLP AS
 COUNSEL TO ENERGY FUTURE INTERMEDIATE HOLDING COMPANY LLC UNDER
 SECTIONS 327(a) AND 1107(b) OF THE BANKRUPTCY CODE, EFFECTIVE NUNC PRO
                         TUNC TO NOVEMBER 16, 2014


         I, Charles H. Cremens, declare under penalty of perjury as follows:

         1.     I am the Disinterested Manager of Energy Future Intermediate Holding

Company LLC (“EFIH”), located at 1601 Bryan Street, Dallas, TX 75201.

         2.     I submit this Declaration in support of EFIH’s Application for Order Approving

Employment of Cravath, Swaine & Moore LLP as Counsel to Energy Future Intermediate

Holding Company LLC Under Sections 327(a) and 1107(b) of the Bankruptcy Code, Effective

Nunc Pro Tunc to November 16, 2014 (the “Application”).2 Except as otherwise noted, I have

personal knowledge of the matters set forth in this Declaration.

Disinterested Manager’s Selection of Counsel

         3.     Based on this Court’s finding of an actual conflict in connection with the motion

to approve bid procedures for a sale of an economic interest in EFIH’s subsidiary Oncor Electric

1 The last four digits of Energy Future Holdings Corp.’s tax identification number are 8810. The location

of the debtors’ service address is 1601 Bryan Street, Dallas, Texas 75201. Due to the large number of
debtors in these chapter 11 cases, for which joint administration has been granted, a complete list of the
debtors and the last four digits of their federal tax identification numbers is not provided herein. A
complete list of such information may be obtained on the website of the debtors’ claims and noticing
agent at http://www.efhcaseinfo.com.

2 Capitalized terms used but not otherwise defined in this Declaration have the meanings set forth in the

Application.
                                                    1
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Delivery Company LLC and in accordance with the Stipulation and Agreed Order Regarding a

Protocol for Certain Case Matters, entered September 16, 2014 [ECF 2051], which authorized

me, as the EFIH disinterested manager, to choose independent counsel if I determined it

became necessary or prudent to do so with respect to a plan or inter-debtor issues, I determined

that is was necessary to employ independent counsel and other advisers. Upon making that

determination, I consulted with stakeholders to obtain a list of law firms who were not already

involved in these cases that have the requisite experience and expertise to provide

representation and advice in a case as complex and contentious as these cases. From that list, I

interviewed lawyers at three firms, including Cravath.

       4.      I selected Cravath Swaine & Moore LLP (“Cravath”) because of its deep

experience and expertise in restructuring and bankruptcy, mergers & acquisitions, corporate

governance, tax, and litigation and based on discussions with other parties in interest in the

case. I believe that Cravath is both well qualified and able to represent EFIH in an efficient and

timely manner in connection with the “Independent Matters” as defined in the Stipulation and

Agreed Order Regarding a Protocol for Certain Case Matters, entered on September 16, 2014 [ECF

2051], including with respect to matters identified in the Notice filed on November 7, 2014 [ECF

2718], and in connection with the Conflict Matters and the determination of whether a matter

constitutes a Conflict Matter, as defined in the resolutions of the EFIH Board of Managers

attached to the Application as Exhibit C and Exhibit D.

       5.      Since November 16, 2014, Cravath has worked closely with me and EFIH to learn

about EFIH’s business operations, financial challenges, divergent creditor constituencies and

the numerous legal issues that have arisen and may arise in the context of EFIH’s chapter 11

case. It has become actively involved in the negotiations over the bid procedures and over the

intercompany issues in connection with a chapter 11 reorganization plan.
                                                2
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